                            Case 1:24-cv-00955 Document 1-1 Filed 04/03/24 Page 1 of 2
                                                                      CIVIL COVER SHEET
JS-44 (Rev. 11/2020 DC)
 I. (
    a) PLAINTIFFS                                                                          DEFENDANTS

 WARREN COMMUNICATIONS NEWS, INC.                                                          NNR GLOBAL LOGISTICS USA INC.




 (b) COUNTY OF RESIDENCE OFFIRSTLISTED PLAINTIFF                11 001                       COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT 88888
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                  NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED


  (c) ATTORNEYS (FIRMNAME,ADDRESS, AND TELEPHONE NUMBER)                                   ATTORNEYS (IF KNOWN)
   Mark Sweet
   Bruce McDonald
    Corey Weinstein
   Wiley Rein LLP
    2050 M Street NW
   Washington, D.  C. 20036
    (202) 719-7000
 II. BASIS OF JURISDICTION                                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (       PLACEANx INONEBOXFOR
     (PLACE AN xIN ONE BOX ONLY)                                              PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                                     PTF    DFT                              PTF                                    DFT
 0 1 U.S. Government                 3 Federal Question
         Plaintiff                   (U.S. Government Not a Party)            Citizen of this State        01         0    1   Incorporated orPrincipal Place        04          04
                                                                                                                               of Business in This State

 0 2 U.S. Government                 4 Diversity                              Citizen of Another State     02         02       Incorporated and PrincipalPlace       05          0
         Defendant                   (Indicate Citizenship of
                                                                                                                               of Business in Another State
                                       Parties in item 111)
                                                                              Citizen or Subject of a           3     03
                                                                              Foreign Country                                  Foreign Nation                        06               6


                                           IV. CASE ASSIGNMENT AND NATURE OF SUIT
              Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit

 o A. Antitrust             C B. PersonalIijury/                                   0 C. Administrative Agen cy                             C D. Teinporaty Restraining
                                        Malpractice                                           Review                                                  Order/Preliminaty
       410 Antitrust                310 Airplane                                          151 Medicare Act                                            Iijunction

                                    315 Airplane Product Liability                                                                         Any nature of suit from any category
                                    320 Assault, Libel & Slander                    Social Security
                                                                                                                                           may be selected for this category of
                                                                                          861 HIA (1395ff)
                                    330 Federal Employers Liability                                                                        case assignment.
                                                                                          862 Black Lung (923)
                                    340 Marine
                                                                                          863 DIWC/DIWW (405(g))                           *(If An titrus t
                                                                                                                                                          , th en A governs )*
                                    345 Marine Product Liability
                                                                                          864 SSID Title XVI
                                    350 Motor Vehicle
                                                                                          865 RSI (405(g))
                                    355 Motor Vehicle Product Liability
                                                                                    Other Statutes
                                    360 Other Personal Injury
                                                                                          891 Agricultural Acts
                                    362 Medical Malpractice
                                                                                          893 Environmental Matters
                                    365 Product Liability
                                                                                          890 Other Statutory Actions (If
                                    367 Health Care/Pharmaceutical
                                                                                              Administrative Agency is
                                        Personal Injury Product Liability
                                                                                              Involved)
                                    368 Asbestos Product Liability



 ®     E.   General Civil (Othe:)                                    OR                   0 F. Pro Se General Civil
 Real Property                             Bankruptcy                                          Federal Tax Suits
       210 Land Condemnation                       422 Appeal 28 USC 158                              870 Taxes (
                                                                                                                US plaintiff or                   465 Other Immigration Actions
       220 Foreclosure                             423 Withdrawal 28 USC 157                              defendant)                              470 Racketeer Influenced
       230 Rent, Lease & Ejectment                                                                    871 IRS-Third Party 26 USC
                                                                                                                                                      & Corrupt Organization
                                           Prisoner Petitions                                             7609
       240 Torts to Land                                                                                                                          480 Consumer Credit
       245 Tort Product Liability                  535 Death Penalty
                                                                                               Forfeiture/Penalty                                 485 Telephone Consumer
                                                   540 Mandamus & Other
       290 All Other Real Property
                                                                                                      625 Drug Related Seizure of                     Protection Act (TCPA)
                                                   550 Civil Rights
                                                                                                          Property 21 USC 881                     490 Cable/Satellite    TV
 Personal Property                                 555 Prison Conditions
                                                                                                      690 Other                                   850 Securities/Commodities/
       370 Other Fraud                             560 Civil Detainee        Conditions
                                                                                                                                                      Exchange
                                                                         -




       371 Truth in Lending                            of Confinement
                                                                                               Other Statutes                                     896 Arbitration
       380 Other Personal Property
                                                                                                      375 False Claims Act                        899 Administrative Procedure
            Damage                         Property Rights
                                                                                                      376 Qui Tam (31 USC                             Act/Review or Appeal of
       385 Property Damage                  III 820 Copyrights
                                                                                                          3729(a))                                    Agency Decision
            Product Liability                      830 Patent
                                                                                                      400 State Reapportionment                   950 Constitutionality of State
                                                   835 Patent   -   Abbreviated New
                                                                                                      430 Banks & Banking                             Statutes
                                                       Drug Application
                                                                                                      450 Commerce/ICC Rates/etc                  890 Other Statutory Actions
                                                   840 Trademark
                                                                                                      460 Deportation                                 (if not administrative agency
                                                   880 Defend Trade Secrets Act of
                                                                                                      462 Naturalization                              review or Privacy Act)
                                                       2016 (ITSA)
                                                                                                          Application
                              Case 1:24-cv-00955 Document 1-1 Filed 04/03/24 Page 2 of 2
  o G. Habeas Corpus/                           O     H. Employment                                tO   I.      FOJA/PrivacyAct                   C     J.    Student Loan
                2255                                  Discrimination

  [1 530 Habeas Corpus General                         442 Civil Rights   -   Employment                895 Freedom of Information Act             11152 Recovery of Defaulted
                                                                                                   11 890 Other Statutory Actions
                             -




  [1 510 Motion/Vacate Sentence                             (criteria: race, gender/sex,                                                                      Student Loan

  LJ 463 Habeas Corpus       -   Alien                      national origin,                                    (if Privacy Act)                              (excluding veterans)

           Detainee                                         discrimination, disability, age,
                                                            religion, retaliation)


                                                *(If pro se, select this dec k)*                   *(If pro se, select this dec k)*


 o K. LaborIERISA                                o L. Other Civil Rights                          C M. Contract                                    o N. Three-Judge
                (non-employmen)                              (non-employmen)                                                                            Court
                                                                                                   El 110 Insurance
  11 710 Fair Labor Standards Act                      441 Voting (if not Voting Rights            LI 120 Marine                                   [] 441 Civil Rights    -   Voting
       720 Labor/Mgmt. Relations                            Act)                                   11 130 Miller Act                                          (if Voting Rights Act)
  11 740 Labor Railway Act                       11443 Housing/Accommodations                      [I 140 Negotiable Instrument
  11 751 Family and Medical                      11440 Other Civil Rights                          El 150 Recovery of Overpayment
           Leave Act                             11445 Americans w/Disabilities        -
                                                                                                                & Enforcement of
       790 Other Labor Litigation                           Employment                                          Judgment
       791 Empl. Ret. Inc. Security Act                446 Americans w/Disabilities    -
                                                                                                   El 153 Recovery of Overpayment
                                                            Other                                               of Veteran's Benefits
                                                       448 Education                               1] 160 Stockholder's Suits
                                                                                                   LI 190 Other Contracts
                                                                                                   LI 195 Contract Product Liability
                                                                                                   11 196 Franchise

 V. ORIGIN

  J 1 Original         0 2 Removed            3 Remanded            O 4 Reinstated 0 5 Transferred               0 6 Multi-district 0 7 Appeal to                o 8 Multi-district
      Proceeding           from State         from Appellate          or Reopened          from another               Litigation             District Judge          Litigation  -




                           Court              Court                                        district (specify)                                from Mag.               Direct File
                                                                                                                                             Judge


 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)

   Defendant has violated the U.S. Copyright Act, 17 U.S.0 101 et seq., by infringing Plaintiff's copyrights.

 VII. REQUESTED IN                       [] CHECK IF THIS IS CLASS                   DEMAND $                                           Check YES only if demanded in complaint
       COMPLAINT                          ACTION UNDER FRCP23                            JURY DEMAND:                                   YES    X         NO      [1

 VIII. RELATED CASE(S)
        IF ANY
                                              (See instruction)
                                                                                     YES                      NO       x                If yes, please complete related case form



 DATE:             04/03/2024                      SIGNATURE OF ATTORNEY OF RECORD                           /
                                                                                                             s/ Mark Sweet



                                               INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                                      Authority for Civil Cover Sheet

     The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers asrequired
by law, except asprovided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974,is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.


           I.          COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                       ofWashington, DC, 88888 if plaintiff is resident ofUnited States but not Washington, DC, and 99999 if plaintiff is outside the United States.


           III.        CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                       under Section II.


           IV.         CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of ajudge to your case will depend on the category you select that best
                       represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                       nature of suit found under the category of the case.

           VI.         CAUSE OF ACTION: Cite the U.
                                                  S. Civil Statute underwhich you are filing and write a brief statement ofthe primary cause.


           VIII.       RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                       the Clerk's Office.


           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
